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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


   Civil Action No. 1:22-cv-01342-WJM-NRN

   SOUTHWEST AIRLINES CO.,


           Plaintiff,

   v.

   SCOTT MOSS, in his official capacity as Director of the Division of Labor Standards and
   Statistics at the Colorado Department of Labor and Employment,

           Defendant.

   ______________________________________________________________________

                JOINT MOTION TO DISMISS WITHOUT PREJUDICE
   ______________________________________________________________________

          Pursuant to Fed. R. Civ. P. 41(a)(2), Plaintiff Southwest Airlines Co. (“Southwest”)

   and Defendant Scott Moss, in his official capacity as Director of the Division of Labor

   Standards and Statistics at the Colorado Department of Labor and Employment (the

   “Director” and, together with Southwest, the “Parties”), through their respective

   undersigned counsel, hereby jointly move to dismiss the above-captioned action (the

   “Action”) without prejudice. In support of this motion, the Parties state the following:

          1.      Pursuant to D.C.COLO.LCivR 7.1(a), respective undersigned counsel for

   the Parties certify that they conferred regarding the relief requested in this motion. Based

   on this conferral, the Parties jointly seek the requested relief.

          2.      On May 27, 2022, Southwest initiated the Action by filing its Complaint for

   Declaratory Judgment [ECF 1].

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          3.     On September 14, 2022, Southwest filed its Second Amended Complaint

   for Declaratory Judgment [ECF 43] (the “SAC”), which is the operative complaint in the

   Action. In the SAC, Southwest named the Director as the only defendant in this Action.

          4.     On September 28, 2022, the Director filed his Motion to Dismiss Second

   Amended Complaint [ECF 45] (the “MTD”).

          5.     On November 9, 2022, Southwest filed its Opposition to Defendant’s Motion

   to Dismiss Second Amended Complaint [ECF 50].

          6.     On December 2, 2022, the Director filed his Reply in Support of Motion to

   Dismiss Second Amended Complaint [ECF 53]. Accordingly, the MTD became fully ripe

   for decision as of that date.

          7.     As of the date of this motion, the Court has not yet ruled on the MTD.

          8.     On May 1, 2023, Transport Workers Union Local 556 (“TWU 556”) filed an

   Amended Motion to Intervene as Defendant and Counterclaimant and Supporting

   Memorandum of Law [ECF 68] (the “Intervention Motion”).

          9.     On May 22, 2023, Southwest filed its Opposition to Transport Workers

   Union Local 556’s Motion to Intervene as Defendant [ECF 73].

          10.    On May 26, 2023, Southwest filed an Unopposed Motion to Stay Case [ECF

   74] (the “Stay Motion”), requesting that the Court stay the Action to facilitate the Parties’

   efforts to try to reach a settlement that would fully resolve the dispute giving rise to the

   Action.

          11.    On May 30, 2023, the Court entered a Minute Order [ECF 76] that granted

   the Stay Motion and stayed the Action to and including June 29, 2023.


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            12.   Southwest filed a Status Report [ECF 77] on June 29, 2023, informing the

   Court that although the Parties had had productive settlement discussions and made

   progress toward reaching a settlement, the Parties still had a few terms remaining to be

   finalized. Accordingly, Southwest respectfully requested that the Court extend the stay

   of the Action to and including July 14, 2023.

            13.   On June 30, 2023, the Court entered a Minute Order [ECF 78] regarding

   the Status Report and extended the stay of the Action to and including July 14, 2023.

            14.   Because the Action has been stayed since May 30, 2023, the Court has not

   ruled on TWU 556’s Intervention Motion, and TWU 556 thus remains a non-party to the

   Action.

            15.   The Parties have reached a settlement that fully resolves the dispute giving

   rise to this Action. The Parties’ settlement requires Southwest to move to dismiss this

   Action without prejudice, with the Parties to bear their own respective attorney fees and

   costs.

            16.   The Parties accordingly respectfully request that the Court enter an order,

   pursuant to Fed. R. Civ. P. 41(a)(2), dismissing this Action without prejudice, with the

   Parties to bear their own respective attorney fees and costs.

            WHEREFORE, Plaintiff Southwest Airlines Co. and Defendant Scott Moss, in his

   official capacity as Director of the Division of Labor Standards and Statistics at the

   Colorado Department of Labor and Employment, respectfully request that the Court enter

   an order, pursuant to Fed. R. Civ. P. 41(a)(2), dismissing the above-captioned action

   without prejudice, with the Parties to bear their own respective attorney fees and costs,


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   and granting the Parties such other relief as the Court deems proper under the

   circumstances.


         Respectfully submitted on July 13, 2023.



    s/ Micah D. Dawson                           s/ John Lizza
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                                  CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on July 13, 2023, a true and correct copy of

   the foregoing was filed electronically with the Clerk of Court using the CM/ECF system,

   which will send a notice of electronic filing to all counsel of record.


                                                      s/ Robin Havens
                                                      Robin Havens
                                                      For FISHER & PHILLIPS LLP




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